Case 3:12-cr-00032-GEC       Document 73       Filed 04/08/13     Page 1 of 9     Pageid#: 244

                                                                            CLE           I
                                                                                RAKTSCO
                                                                                      HA
                                                                                       FF
                                                                                        RI
                                                                                         ss
                                                                                         -Esà
                                                                                           Uskv
                                                                                              Di
                                                                                               l
                                                                                               u
                                                                                               sr
                                                                                                l,
                                                                                                c.v
                                                                                                  c,
                                                                                                   x
                                                                                                   ouR-
                                                                                                      r
                                                                                        qiLto

                        Fg(V
                           HU
                            EsWwI
                                s
                                YS
                                 YJSR
                                    SY
                                     NAs-
                                        jc
                                         sS
                                          vR
                                           DIo
                                             SV
                                              TR
                                               ol
                                                /T
                                                 vj
                                                  C
                                                  PO
                                                   oU
                                                    mRy
                                                      T
                                                      w
                               CHA RLO TTESV ILLE D IV ISION
                                                                                  A22jj2gj
                                                                                2 IAC
                                                                                         g    LEY,OLEF
                                                                                                     R/'
                                                                                      P ICL Q-.
                                                                                              zz .,

 UNITED STATES OF AMERICA,                          CASENO.3:12CR00032                    t
                                                                                          I
                                                                                          !
                                                    REPORTAND RECOMMENDATIM!N
 CHRISTOPHER PATTERSON BISHOP,                                              I
                                                                            i
        D                                                                   I
            efendant.                               By: B.W AUGH CRIGLER    j
                                                        U.S.MAGISTM TE JUDGEj
                                                                                          I
                                                                                          !
        In accordancewiththeprovisionsofTitle28U.S.C.j636(b)(3),anduponthe
 defendant'sconsent,this case w as referred to theundersigned to conducta plea hearing.
                                                                                          I

 DEFENDANT'SRESPONSESTO RULE 11INQUIRY                                                    !
                                                                                         !
        TheGrand Jury returned am ultiple-countIndictmentcharging defendantin CounfOne
                                                                                         !
                                                                                         !
 with knowingly and intentionally conspiring to possesswith intenttodistribute,and to dijlribute
                                                                                          I
 fifty(50)ormorekilogramsofmarijuana,aSchedule1controlledsubstanceinviolationJfTitle
 21,United StatesCode,Section 841(a)(1),allinviolationofTitle21,United StatesCode,i
 Sedion846;andinCountThreewithknowinglyandintentionallypossessingwithintent;to
 distributemarijuana, a Schedule Icontrolled substance,in violation ofTitle 21,United StA1
                                                                                         tes
                                                                                          !
 Code,Section84l(a)(1).DefendantwasnotchargedinCountTwooftheindictment.Deftndant
                                                                                     l
 hasentered into apleaagreem enttoplead guilty to the chargesin CountsOne and Three. I
                                                                                          I
                                                                                          !
        OnMarch22,2013,apleahearingwasconductedbeforetheundersigned.The I
                                                                                !         !
 defendantwasplacedunderoathmzdtestitiedthathisfulllegalnameisW illiam Christopp!er
 P                                                                                i
  atterson Bishop,he wasborn on July 30,1967,and heisone yearaway from com pletinglhis
                                                                                          I
 degree.Thedefendantstatedthathecan read,write,and understand the English languageL The
                                                                                          l
 defendantfurtherstatedthathewasfullyawareofthenatureofthechargesagainsthi
                                                                         mml
                                                                           dthe
                                                                           i

 consequencesofpleadingguiltytothosecharges.Thedefendantinformedthecourtthatly was
 notundertheinfluence ofalcohol,m edicine,orany otherdrugs,and thathesuffered no j
                                                                                          l
                                                                                          !
                                                                                          l
                                                                                          !
Case 3:12-cr-00032-GEC   Document 73   Filed 04/08/13   Page 2 of 9   Pageid#: 245
Case 3:12-cr-00032-GEC        Document 73        Filed 04/08/13    Page 3 of 9      Pageid#: 246
                                                                                         i
                                                                                    I
                                                                                    i
                                                                                    1
                                                                                    I
 governmentisnotseeking restitution andthedefendantstated thathe abandoned any inteiestin
                                                                                    1
 th                                                                                 I
   eitem sseized asevidencein theprosecution ofthiscase.Finally,thedefendanttestitied that
                                                                                    i
                                                                                    !
 heunderstoodthat,uponconviction,hewillberequiredtopayamandatoryassessmentoj$100
                                                                                          1
 perfelony countofconviction.                                                             I

        ThedefendantwasinformedthatundertheSentencingReform Actof1984,theUàited
                                                                                          I
                                                                                          I
 StatesSentencingCommissionhasissuedguidelinesforjudgestofollow indeterminingt$Ie
 sentencein acrim inalcase. Thedefendantwasthen inform ed thatthe Sentencing Guidelivesare
                                                                                          I
                                                                                          I
 nolongermandatory,butthesentencingjudgemayapplythem inanadvisoryfashionin
                                                                                          i
 determiningareasonablesentence.Thedefendanttestifiedthatheandhiscounselhaddi/cussed
                                                                                          i
                                                                                          I
 how theSentencingGuidelinesmightapply inhiscase.Thedefendantalsotestifiedthatlie
                                                                                          i
                                                                                          I
 understoodthatthecourtwouldnotbeabletodeterminetheapplicableguidelinerange,Nr
                                                                             I
 advisory purposes,untilaftera presentence reporthas been prepared and both partieshav been

 given an opportunity to challenge the reported facts and application ofthe G uidelines. Th4 plea
                                                                                          I
                                                                                          I
 agreementprovidesforaparticularsentenceofincarcerationforaperiodofthirty-seven()7)
                                                                                          I
                                                                                          l

 monthstogetherwiththree(3)yearsofsupervisedrelease,whichwillbebindinguponth4court        I
 onccthepleaisacceptedunderFed.R.Crim.P.11(c)(1)(C).A1lothersentencingmattersl
                                                                                          I
                                                                                          I
 includingfines,willbedecidedbythesentencingjudge.Thedefendantstatedthathe I
 understoodthatthecourtmayeitheracceptorrejecthispleaagreementintheentiretybutl
                                                                              that,if
                                                                                          I
 thecourtdoesnotaccepttheRule11(c)(1)(C)sentence,hewouldbeentitledtowithdraw4is           I
            2
 guilty plea.                                                                             I
                                                                                          '

        Thedefendantagreedthathehadknowinglyandvoluntarilywaivedhisrightstorjjquest
 orreceiveanyrecordspertai
                         ningtotheinvestigationorprosecutionofhiscase,including1ny
 2Priorto filing the plea agreem entin open co                                            I
 F4 ofthepleaagreem entproviding thatthe deur
  .
                                             t,
                                            fe thepa
                                              ndant rtieasc
                                                   has    rio
                                                            grrec
                                                             ht tt
                                                                 oe
                                                                  dis
                                                                  w tentean
                                                                     hdr  wc
                                                                           ehitw
                                                                               so
                                                                                plof,secjion
                                                                                  ea
 consistentwithsectionB.1oftheagreementshouldthecourtnotaccepttheRule11(c)(1)C)
 agreem ent.                                                                              I
                                                 3
                                                                                          I
                                                                                          1
                                                                                          I
                                                                                          !
Case 3:12-cr-00032-GEC         Document 73       Filed 04/08/13      Page 4 of 9     Pageid#: 247




 recordsthatmaybesoughtundertheFreedom ofInformation ActorthePrivacy Actof1974.
 Thedefendantagreedhewould submitafinancialstatem ent,ifcalled upon to do so.Hefurther

 agreedthatfrom thetim eofhissigning oftheplea agreem ent,orthedatehe signsthefinancial

 statement,whicheverisearlier,hewould notconvey anything ofvaluewithoutauthorizatîon
 from the governm ent. The defendantacknow ledged his m onetary obligationsunderthe plea

 agreement,whichcallsforsuchtobedueimmediately andsubjecttoimmediateenforcement.
        Thedefendantacknowledgedthathewaswaivinghisrighttohaveajtlrydetermipe
 beyond a reasonable doubtthe facts alleged in the Indictm ent,including any facts related to

 sentencing.Thedefendanttestifiedthatheunderstoodthathehadtherightto atrialbyajury,in
 addition to the follow ing rights,which w illbe w aived or given up ifhis guilty plea is accepted:

 1. The rightto plead notguilty and persistin thatplea;
 2. Therighttoaspeedy andpublicjurytrial'
                                        ,
 3. The rightto assistance ofcounselatthattrialand in any subsequentappeal;
 4. The rightto rem ain silentattrial;
 5. The rightto testify attrial;
 6. The rightto confrontand cross-exam inewitnessescalled by the government;
 7. The rightto presentevidence and witnessesin his own behalf;
 8. The rightto com pulsory processofthe court;
 9, The rightto com pelthe attendance ofw itnessesattrial;
 10.The rightto be presum ed ilm ocent;
 11.Therightto a unanim ous guilty verdict;and
 12.Therightto appeala guilty verdict.

        The defendanttestified thathe understood that,so long asthe sentence w asnotm ore

 severethan expected,underthetermsofthe agreem enthewaswaivinghisrightsto appeal,but

 thathe w asnotwaiving hisrightto appealorhave his attorney file a notice ofappealas to any

 issue w hich cnnnot,by law,be w aived. The defendantacknowledged thathe had agreed to

 w aive his rightto collaterally attack any orderissued in the case,unlesssuch attack isbased on

 ineffectiveassistanceofcounseloraconstitutionaldefectinjurisdiction.Thedefendantwas
Case 3:12-cr-00032-GEC   Document 73   Filed 04/08/13   Page 5 of 9   Pageid#: 248
Case 3:12-cr-00032-GEC            Document 73     Filed 04/08/13     Page 6 of 9     Pageid#: 249

                                                                                            t
                                                                                            l
                                                                                            i
 occupantofthe RV.Based on CS-1's nervous behavior,among otherthings,Trooph!r Craft
                                                                                            !
 obtained consentto search the RV and subsequently seized packaged marijuana with A gross
                                                                                  !
 weight of 73.7 kilograms,which had been concealed in the undercarriage ofthe R.  I
                                                                                  V (the
                                                                                            !
 tçM arijuana''). CS-Istated thathewasdelivering themarijuanato Charlottesville,Virginia,to
 deliverittoanotherindividual(hereinafter,$;CS-2'').                                        !
                                                                                  (
                                                                                  I
          CS-I has known CS-2 for a num ber ofyears,and on or before August 18,201).,CS-I
                                                                                            I
 agreed w ith C S-                                                                          I here
                     2to begin drivingmarijuanafrom Californiato Charlottesville,Virginiajw
                                                                                            l
 CS- 2 would then sell the mari
                              juana to his contacts,which ultimately included Chrii
                                                                                  stopher
                                                                                  I
 P                                                                                          !
     atterson Bishop (diBishop''). The government's evidence would have proven beyond a
                                                                                            l
                                                                                            I
 reasonabledoubtthatanotherco-conspirator,KimberlylesbertsCtlesberts'),oftenassistjdCS-I
                                                                                            !
 andCS-2inthedeliveryofmarijuanatoCharlottesville,Virginia.Forexample,tofacilyatethe
                                                                                            l
 delivery oftheM arijuanato Charlottesville, Virginia,in Octoberof2012,lesbertshelpt
                                                                                   Id load
                                                                                            I
                                                                                            I
 the M arijuana into the concealed storagecompartmentson CS-1'sRV. Then,asCS-I began
                                                                                            !
                                                                                            I
 traveling from Califom ia to Virginia,lesberts acted as the pointofcontactbetween CS-I and
                                                                                            i
                                                                                            I
 CS-2,keeping tabs on CS-1's progress and whereabouts nearly every day and repordng this
                                                                                            !
 informationtoCS 2.   -                                                                     1
 '
                                                                                            i
          C ontrolled D elivery                                                             i
                                                                                            1
          A fter his arrest in Oklahom a C S-I agreed to cooperate in m aking a controlled eyc
                                                                                             l hange
                                       ,
                                                                                            I
                                                                                            1
 oftheMarijuanatoCS-2inCharlottesville,Virginia,whereCS-2wasexpectingdelivey
                                                                           I
                                                                            y. On
                                                                                            1
 October 16, 2012, at approximately 8:15 p.m., Drug Enforcement Administrationlagents
                                                                                   E
 (hereinafter, $;Agents''),1ed by SpecialAgentJason Alznauer,outtm ed CS-Iwith a coy
                                                                                   !cealed
                                                                                            I
 transmitting/recording device,and at approximately 9:30 p.m.,CS-I metwith t'
                                                                            S-2 in
                                                                            !
                                                                                            I
                                                                                            I
                                                                                            l
                                                  6                                         I
                                                                                            !
                                                                                            )
                                                                                            l
                                                                                            1
                                                                                            !
Case 3:12-cr-00032-GEC            Document 73   Filed 04/08/13   Page 7 of 9   Pageid#: 250
                                                                                     I
                                                                                     !
                                                                                     i
                                                                                     I
                                                                                     !
                                                                                     !
 Charlottesville, Virginia.Atthismeeting,CS-2 told CS-Ithathismarijuanacustomersl
                                                                                did not
                                                                                j
                                                                                     1
 wantto do thetransaction atnightandthatthey would completethetransaction the fotlowing
                                                                                     I
                                                                                     I
 m orning. CS-2 asked CS-I to m eethim atthe sam e location the following m orning toIdeliver
                                                                                     I
                                                                                     !
 theM arijuana.                                                                      E
                                                                                     i
                                                                                     i
          OnOctober17,2012,atapproximately 8:22a.m.,CS-Imetwith CS-2 attheagreidupon
                                                                                     !
                                                                                     i
 location in Charlottesville,Virginia,forthe pupose ofdelivering the M arijuana to Cj-2. At
                                                                                     i
                                                                                     I
 approximately 8:36a.m.,aftertheexchangehadoccurred,CS-2 droveawayfrom the#eeting
                                                                                     1
 locationwith theM arijuana Shortly thereafter,Agentsstopped CS-2 and arrested him ,ai
                              .                                                      jwhich
                                                                                     l
 ti                                                                                  I
  me theM arijuanawasrecovered from CS-2'svehicle.A laboratorytestlaterrevealedjhatthe
                                                                                     I
 M                                                                                   i
     ari
       juanahadanetweightofapproximately55.076kilograms.                             j
                                                                                     I
          CS-                                                                        i
                2 gave a statement to Agents in which he stated that he sold marijpIana in
 Ch                                                                                  i
      arlottesville,Virginia,at a price of $2900 to $3200 per potmd,which corresppnds to
                                                                                     l
                                                                                     !
 approximately $6393 to $7054 per kilogram. CS-2 stated that al1ofthe Marijuan: in the
                                                                                     I
                                                                                     !
 Octoberof2012describedabovewastobepurchasedby someonennmedûdchris''at2$08Rio
                                                                                     1
                                                                                     !
 MillsRoad in Earlysville,Virginia(hereinafter,thedsResidence'),which Agentsidenttfied as
                                                                                  1
 Bi                                                                               1
    shop'shome based on a search ofpublicrecozds. CS-2 acknowledged having interadkd with
                                                                                  I
 Ctcl                                                                             1
      uis''on multiple occasions. Agents showed CS-2 a photograph of Bishop,an4 CS-2
                                                                                     l
 identified Bishop asthe tichris''thatwasto ptzrchase the M arijuana Atapproximatelf! 12:00
                                                                    .

                                                                                     I
                                                                                     i
 p.m.on October17,2012,CS-2 madea monitored and recorded telephonecallto Si
                                                                          I
                                                                           shop's
 cellulartelephonenumber.Duringtheconversation,BishopdirectedCS-2toproceelItothe
 ResidenceandtoentertheResidenceinsidewithahiddengaragedooropenerifBishop/a
                                                                         !
                                                                           snot
                                                                                     I
                                                                                     I

                                                                                     I
                                                                                     I

                                                7                                    I
                                                                                     I
                                                                                     I

                                                                                     l
                                                                                     :
Case 3:12-cr-00032-GEC        Document 73       Filed 04/08/13     Page 8 of 9   Pageid#: 251


                                                                                        i

 present. CS-2 had previously agreed with Bishop to sellthe M ari
                                                                juana to Bishop for U.S.
                                                                                        ?
 Currency afterarriving atthe Residence.                                                1
                                                                                        !

         Ataround 1:52 p.m.,Agentsexecuted a search warrantatthe Residence and àrrested
 Bi                                                                                     I
   shop. During a search of the Residence, Agents recovered, nmong other things, over
                                                                               I
                                                                               !
 $389,000.00 in U.S.currency,packaging materials,and a large setofdigitalscales. Mishop
                                                                                        f
                                                                                        !
 m aintained a storage room attached to hishom e and accessed through the garage. ln the jtorage
                                                                                 )
 room,there was a storage freezer,a large safe containing a largeportion ofthe bui cash
                                                                                        I
                                                                                        !
 referencedabove,andapproximatelyonekilogram ofpackagedmarijuana.                       I
                                                                                        I
 FIN D IN G S O F FA C T                                                                !
                                                                                        !
                                                                              1
         Basedontheevidencepresentedatthepleahearing,theundersignednow submitsihe
 followingformalfindingsoffact, conclusionsandrecommendations:                          !
                                                                                        1
                                                                                        i
      (1) Thedefendantisfullycompetentandcapableofenteringinto apleaagreementaltb
                                                                                        I
                                                                                        l
         m aking an inform ed plea;                                                     !
                                                                                        i
      (2) Thedefendantisawareofthenatureofthechargesandtheconsequencesofhispliea;
                                                                                        f
                                                                                        I
      (3)ThedefendantknowinglyandvoluntarilyenteredapleaofguiltytoCountsOnealjd
                                                                                        i
         Three ofthe lndictm ent;and
                                                                                        E
      (4)Theevidencepresentsanindependentbasisinfactcontainingeachoftheessentiaf
                                                                                        !
         elem entsofthe offenses to w hich the defendantis pleading guilty.             l
                                                                                        I

 R EC O M M EN D ED DISPO SITIO N                                                       !
                                                                                        !
         B                                                                1
          asedupontheabovefindingsoffact,theundersignedRECOMM ENDS thatthepottrt
                                                                                 1
                                                                                 ;
 acceptthe defendant,spleaofguilty to CountsOneand Three ofthelndidm entwith the j
                                                                                 i
 understandingthatacceptanceofthedefendant'spleaofguiltytriggerstheprovisionsoflted.R.
                                                                                (
                                                                                I

 Crim.P.11(c)(1)(C),TheundersignedDIRECTSthatapresentencereportbeprepared.'
                                                                          j
                                                                          /
                                                                           -
                                                                           he
                                                                                       I
                                                8                                      1
                                                                                       !
                                                                                       i
                                                                                       I
                                                                                       i
Case 3:12-cr-00032-GEC         Document 73          Filed 04/08/13   Page 9 of 9       Pageid#: 252

                                                                                            i
                                                                                            q
                                                                                            1
                                                                                            !
 undersignedRECOM MENDSthattheproposed orderofforfeiturebeenteredattheapprqpriate
                                                                                   i
 time.A sentencing hearing hereby isscheduled forJune 24,2013 at2:00p.m .beforethe i
                                                                                            l
 presiding D istrictJudge in Charlottesville.                                               !
                                                                                            p
                                                                                            i
 NOTICE TO PARTIES                                                                          1
                                                                                            I
                                                                                            I
          Noticeisherebygiventothepartiesoftheprovisionsof28U.S.C.j636(b)(1)(C):I
 W ithi                                                                                     l
      nfourteendays(14)afterbeingservedwith acopyofthisReportandRecommendalion,
                                                                                            i
                                                                                            i
 anypartymayserveandfilewrittenobjectionstosuchproposed tindingsandrecommendytions
                                                                                   !
                                                                                   I
 asprovided by nllesofcourt. Thepresiding DistrictJudgeshallm ake adenovo determ inption
                                                                                            i
 ofthoseportionsofthereportorspecitied proposed findingsorrecom mendationsto whichI
 objectionismade.ThepresidingDistrictJ                                        d
                                      udgemay accept,reject,ormodify,inwholeot!in
                                                                                            k
 part,thefindingsorrecommendationsmadebytheundersigned.Thejudgemayalsorecewe
                                                                          i
 furtherevidence orrecom m itthe m atterto the undersigned w ith instnzctions.              1
                                                                                            l
                                                                                            I
          Failuretofiletimelywritten objectionstotheseproposedfindingsandrecommenpations
                                                                                            i
                                                                                            I
 within fourteen dayscould waive appellatereview.Attheconclusion ofthefourteen-day period,
                                                                                            !
 theClerk isdirectedto transm ittherecord in thism attertothepresiding United StatesDittrict
                                                                                            #
 Judge.
          The Clerk ishereby directed to send a certified copy ofthis ReportandRecommeùdation
                                                                              y,'
                                                                                       i
                                                                                       I
 toallcounselofrecord.                                                     ,>               I
                                                    -.                                      I
                                                         ,.   '.
                                                              .                             g
                       ENTERED:                      Z 29 <.
                                                           -
                                                           b                    .- -        I
                                        nited tatesM agistraeJudge                          i
                                                                                            p
                                                -

                                                    î'/                                     I
                                                                                            '
                                                                                            !
                                      D ate                                                 i
                                                                                            !
                                                                                            i
                                                                                            l
                                                                                            I
                                                                                            1
                                                                                            1
                                                                                            I
                                                                                            I
                                                                                            I
                                                                                            I
                                                                                            I
                                                                                            l
                                                                                            1
                                                                                            !
                                                                                            !
